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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                                        )
YALE-NEW HAVEN HOSPITAL, et al.,                        )
                                                        )
                                                        )
                                        Plaintiffs,     )
                                                        )
                 v.                                     )       No. 1:18-cv-01718-ESH
                                                        )
ALEX M. AZAR II, Secretary of                           )
Health and Human Services,                              )
                                                        )
                                        Defendant.      )
                                                        )


                              JOINT MOTION TO STAY PROCEEDINGS

         The parties, by and through their undersigned counsel, respectfully move the Court to stay

this case pending further proceedings in Allina Health Services, et al. v. Azar, No. 16-5255 (D.C.

Cir.) (“Allina II”). In support of the motion, the parties state as follows:

         1.      Plaintiffs filed this case on July 23, 2018, contesting disproportionate share hospital

(“DSH”) payment adjustments under the Medicare statute, 42 U.S.C. § 1395ww(d)(5)(F). ECF

No. 1.

         2.      Defendant’s deadline to file an answer to the complaint is September 23, 2018.

         3.      On July 25, 2017, the Court of Appeals issued a decision in Allina II, a case

involving similar legal issues. See Allina Health Services v. Price, 863 F.3d 937 (D.C. Cir. 2017).

         4.      On April 27, 2018, the government filed a petition for certiorari to the Supreme

Court in Allina II. See Azar v. Allina Health Services, No. 17-1484 (S.Ct.). The petition has been

fully briefed as of July 5, 2018, and is scheduled for conference on September 24, 2018.


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       5.      Because the underlying legal issues in Allina II are similar to the issues in this case,

their final disposition in Allina II could have a significant bearing on the resolution of this case.

Several other presently pending cases in this Court that involve similar issues have been stayed

pending the outcome of the Allina II case. See, e.g., St. Agnes Medical Center, et al. v. Azar, No.

18-cv-00222 (CRC), Albert Einstein Healthcare Network, et al. v. Azar, No. 17-cv-1134 (ABJ),

Florida Health Sciences Center, et al. v. Azar, No. 17-cv-1751 (RC), Menifee Valley Medical

Center, et al. v. Azar, No. 17-cv-2029 (EGS), Adventist Bolingbrook Hospital, et al. v. Azar, No.

17-cv-2683 (BAH). The parties agree that a stay would be appropriate in this case as well.

       6.      Accordingly, the parties respectfully request an order providing that:

            a. This case is stayed;

            b. The deadline for the Secretary to file an answer is vacated pending further

               proceedings in Allina II; and

            c. The parties shall file a joint status report within thirty days of the Supreme Court

               granting or denying the government’s petition for certiorari in Allina II.




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Dated: September 7, 2018   Respectfully submitted,

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                           _/s/ Peter M. Bryce _____________
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